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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARLAND
                                     (Northern Division)

ANTHONY BROWN, and BONITA BROWN,                         *
Individually and on behalf of a Class of Persons
similarly situated,                                      *
                                                             Case No. 1:11-cv-00667-JKB
                        Plaintiffs,                      *

            v.                                           *

ALLIED HOME MORTGAGE CAPITAL                             *
CORPORATION,
                                                         *
                        Defendant.

*       *        *      *        *      *          *     *       *      *      *      *   *      *

     MOTION TO WITHDRAW APPEARANCE OF KATHERINE B. BORNSTEIN
                     ON BEHALF OF PLAINTIFFS

        Plaintiffs move to withdraw the appearance of Katherine B. Bornstein as counsel of

record for Plaintiffs in the above-captioned matter. In support of this motion, Plaintiffs state as

follows:

        1.       Ms. Bornstein entered her appearance on behalf of Plaintiffs while she was an

associate as Gordon & Wolf, Chtd.

        2.       Ms. Bornstein is no longer an employee of Gordon & Wolf, Chtd.

        3.       Plaintiffs will continue to be represented in this matter by other attorneys at

Gordon & Wolf, Chtd., who are counsel of record.

        4.       A proposed order is submitted herewith.


Dated: May 22, 2012                                Respectfully submitted,

                                                   /s/Katherine B. Bornstein
                                                   4069 Fragile Sail Way
                                                   Ellicott City, Maryland 21042
                                                   katherinebornstein@gmail.com
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                                CERTIFICATE OF SERVICE

       I certify that on May ___ 2012, I caused the foregoing Motion to Withdraw Appearance

of Katherine B. Bornstein on Behalf of Plaintiffs to be filed with the Clerk of the Court via the

CM/ECF system, which will deliver notification of filing to all counsel of record.


                                             /s/Katherine B. Bornstein
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                    (Northern Division)

ANTHONY BROWN, and BONITA BROWN,                        *
Individually and on behalf of a Class of Persons
similarly situated,                                     *
                                                            Case No. 1:11-cv-00667-JKB
                        Plaintiffs,                     *

            v.                                          *

ALLIED HOME MORTGAGE CAPITAL                            *
CORPORATION,
                                                        *
                        Defendant.

*       *        *      *        *      *          *   *        *      *      *      *   *    *
                                                   ORDER

        Having considered the Motion to Withdraw Appearance of Katherine B. Bornstein on

Behalf of Plaintiffs, it is hereby ORDERED that said Motion be and hereby is GRANTED and

Katherine B. Bornstein is hereby removed as counsel of record for Plaintiffs Anthony Brown,

Bonita Brown and Timothy Washington.


                                                   BY THE COURT:



                                                   _______________________________________
                                                   UNITED STATES DISTRICT JUDGE
